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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 8:99cr236

                                                         USM Number 16175-047

WILLIAM ENRIGHT
                       Defendant
                                                         Jessica L. Milburn

                                                         Defendant’s Attorney
___________________________________

                              JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of mandatory condition which states the defendant
shall not commit another federal, state, or local crime, standard conditions 2 and 7 and additional
condition regarding drug testing of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                 Date Violation
       Violation Number                  Nature of Violation                      Concluded


 Mandatory Condition               The defendant shall not commit                July 25, 2005
                                   another federal, state, or local
                                   crime.

 2. Standard Condition #2          The defendant shall report to the          September 21, 2005
                                   probation officer and shall
                                   submit a truthful and complete
                                   written report within the first five
                                   days of each month.

 3. (Standard Condition #7)        The defendant shall refrain from              July 11, 2005
                                   excessive use of alcohol and
                                   shall not purchase, possess,
                                   use, distribute, or administer any
                                   controlled substance or any
                                   paraphernalia related to any
                                   controlled substances, except
                                   as prescribed by a physician.
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 4. (Additional Condition)           Pursuant to 18 U.S.C. 3583(d),               August 22, 2005
                                     the defendant shall submit to a
                                     drug test within fifteen (15) days
                                     of release on supervised release
                                     and at least two (2) periodic
                                     drug tests thereafter to
                                     determine whether the
                                     defendant is using a controlled
                                     substance. Further, the
                                     defendant shall submit to such
                                     testing as requested by any
                                     probation officer to detect the
                                     presence of alcohol or controlled
                                     substances in the defendant’s
                                     body fluids and to determine
                                     whether the defendant has used
                                     any of those substances. Based
                                     on the defendant’s ability to pay,
                                     the defendant shall pay for the
                                     collection of urine samples to be
                                     tested for the presence of
                                     alcohol and/or controlled
                                     substances in an amount to be
                                     determined by the probation
                                     officer.
Original Offense: Conspiracy to distribute and possess with intent to distribute marijuana in violation of 21
USC 846.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                         Date of Imposition of Sentence:
                                                                                    November 18, 2005

                                                                             s/ Richard G. Kopf
                                                                             United States District Judge

                                                                             December 12, 2005
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                                       IMPRISONMENT

       It is ordered defendant’s term of supervised release is revoked. The defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
twelve (12) months and one (1) day.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated in the federal facility at Waseca, Minnesota.

The defendant is remanded to the custody of the United States Marshal.


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution

         $100.00 (PAID)




                                             FINE

        No fine imposed.



                                        RESTITUTION

        No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

        The defendant has paid the special assessment in the amount of $100.00.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
